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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 UNITED STATES OF AMERICA                          )

                V.


                                                           Criminal No. l:18-er-354
 OMAR ENRIQUE ROMERO-
 CACERES




                                 MEMORANDUM OPINION


       Defendant, a native and citizen of Honduras, is charged in Indictment with one count of

illegally re-entering the United States after having been previously removed and deported

subsequent to a felony conviction, in violation of8 U.S.C. § 1326(a) and (b)(1). Among the pre-

trial motions filed by defendant is a motion to dismiss the Indictment on the ground that Pereira

V. Sessions, 138 S. Ct. 2105 (2018), compels the conclusion that the immigration court lacked

jurisdiction to order defendant's prior removal.

       For the reasons that follow, defendant's motion to dismiss the Indictment must be denied.

                                                   I.


       Defendant initially entered the United States in Miami, Florida in January 2003 with a B-

2 visitor visa that permitted defendant to remain in the United States for only six months.

Defendant overstayed this period by approximately two and one-half years. In February 2006,

Virginia State Police arrested defendant for possession offraudulent identity documents in Fairfax

County, Virginia. During the same month, defendant was charged in the Eastern District of

Virginia with Identity Fraud, in violation of 18 U.S.C. §§ 1028(a)(7) and (c)(3). Defendant pled

guilty to this charge on October 19, 2006 and was thereafter sentenced to twelve months

imprisonment and two years of supervised release.


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